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<claim

United States Bankruptcy Court
District of Delaware

In re FTX Trading et al Case No. 22-11068

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A claim has been filed in this case or deemed filed under 1] U.S.C. § T11I(a). Transferee
hereby gives evidence and notice pursuant to Rule 300l(e) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in

this evidence and notice.

 

Name of Transferor Name of Transferee
Name (Redacted) Azure Tide Holdings PTE Ltd.
Address on File 80 MARINE PARADE ROAD #16-09

PARKWAY PARADE
SINGAPORE 449269

Proof of Claim: #1196, #1199
Unique Customer Code: 07893417

Transferred Claim Amount: As stated on Schedule F (attached)

| declare under penalty of perjury that the information provided herein is true and

DocuSigned by:
[_ \\r — 04/10/2023

Transferee Date

correct to the best of my knowledge and belief.

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5

years, or both. 18 U.S.C. §§ 152 & 3571.
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Identity of Transferor

Transferee has in its possession an Evidence of Transfer signed

by the Transferor.

To protect the identity of the Transferor, Transferee has not
disclosed the Transferor’s name or address, and has not
attached the signed Evidence of Transfer to this Notice of

Transfer of Claim.

Upon written request, Transferee is prepared to provide a copy
of the signed Evidence of Transfer to the Bankruptcy Court,

the Debtors, and appropriate professionals.
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Your Unique Customer Code is 07893417

Your claim(s) were scheduled on the Schedules and Statements of West Realm Shires Services
Inc. as:

BTC[0.0000000083054040)
ETH[0.0035413200000000]
ETHW/[0.0035139577914353]
USD[32376.87268907 17859791]
